                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                       WINSTON-SALEM DIVISION

LARRY D. REID and LARRY REID
LIVE, LLC,

       Plaintiffs,                                    No.: 1:22-cv-880

v.

LAVONTRAYE ANDREWS,

       Defendant.



     PLAINTIFFS’ NOTICE OF DISMISSAL WITHOUT PREJUDICE

      In order to address pending jurisdictional issues, Plaintiffs Larry D. Reid and

Larry Reid Live, LLC, acting through counsel, and pursuant to Federal Rule of

Civil Procedure 41(a)(1) hereby dismiss this action without prejudice with leave

to refile.

      This 5th day of December, 2022.

                                      /s/ Ryan Arnold
                                      Ryan Arnold
                                      North Carolina Bar No. 013847
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                             /s/ Amanda G. Hyland
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